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 2   District of Arizona
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     Attorney for Plaintiff
 7
 8                        IN THE UNITED STATES DISTRICT COURT
 9                               FOR THE DISTRICT OF ARIZONA
10
11                                                            CR 14-00554-PHX-SRB
     United States of America,
12                                                   MOTION FOR FINAL APPROVAL TO
                            Plaintiff,               DISBURSE PROCEEDS FROM SALE
13                                                        OF PARCEL 225-66-063
             vs.
14
15   John Keith Hoover, et al,
16                          Defendant.
17
18
19          The United States of America, by and through its undersigned attorneys, hereby

20   requests the Court give final approval regarding the sale of tax parcel number 225-66-063.

21   The government previously requested permission to allow this parcel’s sale through the

22   receivership, which was granted on June 10, 2022 (“Order”). (Doc. 434).

23          The undersigned sent the Order to the Receiver, Don DeGraffenreid, on June 13,

24   2022, with specific emphasis that it required the sales proceeds to remain in escrow pending

25   further court order. The Receiver requested that the undersigned send a certified copy of

26   the Order to the title company with whom he was working for this sale. The undersigned’s

27   office sent the requested certified copy to the title company on June 23. 2022.

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 1          On July 7, 2022, through verbal follow up with the title company, the undersigned
 2   learned that the property sold on July 1, and contacted the Receiver for confirmation and a
 3   copy of a settlement statement. The Receiver confirmed the sale on the same day and
 4   provided the Final Master Statement, attached as Exhibit 1. On July 11, while attending a
 5   status conference in the Mohave County Superior Court tax lien foreclosure matter referred
 6   to in the government’s motion to approve the sale, the undersigned learned that counsel for
 7   the Plaintiff in that case, Dev-Tron, LLC, received disbursements to pay off the tax lien
 8   and the associated attorneys’ fees. Those items are listed on Exhibit 1 under Miscellaneous
 9   Charges as $5076.21 (taxes) and $7433.84 (fees). The undersigned pointed out that funds
10   should have been held in escrow. Dev-Tron’s counsel has agreed to hold those sums, in
11   trust as necessary, until this Court gives final approval. In addition, the Clerk of Court,
12   which has received $7203.17 to be applied toward restitution, has agreed to hold those
13   funds until this Court gives final approval.
14          According to the title company, Chicago Title Agency, the sales proceeds were not
15   held in escrow as directed due to a mistake. They have acknowledged as follows: “I
16   reviewed the Order and it clearly states on the second paragraph that proceeds from sale
17   shall be held in escrow until further order from Court, I can honestly say it definitely was
18   an oversight.”
19          The United States requests final approval from the Court to disburse the proceeds
20   from the sale of tax parcel number 225-66-063, known as 51 Spanish Bay Drive North,
21   Mohave Valley, AZ 86440. The Final Master Statement scheduled disbursements will pay
22   off the tax lien and the associated attorneys’ fees in full as well as other charges, with a
23   remainder of $7203.17 as payment toward restitution.
24          RESPECTFULLY SUBMITTED: July 13, 2022.
25                                              GARY M. RESTAINO
                                                United States Attorney
26                                              District of Arizona
27                                              s/ Vincent M. Creta
                                                VINCENT M. CRETA
28                                              Assistant U.S. Attorney

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 2   Garden Grove, CA 92841
 3   Don DeGraffenreid, Receiver
 4   All Arizona River Realty, LLC
     967 Hancock Suite 145
 5   Bullhead City, AZ 86442

 6
     s/ Amy Phillips-Penquite
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